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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION


UNITED STATES OF AMERICA

v.                                                             Case No. 3:14cr106/MCR

NED J. ENGLISH
____________________________/

                         ACCEPTANCE OF PLEA OF GUILTY

       Pursuant to the Report and Recommendation of the United States Magistrate
Judge, to which there have been no timely objections, the plea of guilty of the Defendant,
NED J. ENGLISH, to Counts One through Three of the Indictment is hereby ACCEPTED.
All parties shall appear before this Court for sentencing as directed.
       DONE and ORDERED this 7th day of April, 2015.



                                           s/   M. Casey Rodgers
                                          M. CASEY RODGERS
                                          CHIEF UNITED STATES DISTRICT JUDGE
